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UNITED sTATEs DIsTRIcT coURT F g L § D
FoR THE DISTRICT oF CoLUMBIA
DEC 0 s 2007

 

 

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' U.S. DlSTR|CT COURT
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V, ) Civil Accion N:o. 97 21 9 0
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Jo.HN coNYERs, JR., el ai.\, )
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Defendants. )
)
MEMORANDUM OPINION

 

This matter is before the Court on plaintiff’s application to proceed in forma pauperis and
pro se complaint The Court will grant the application and dismiss the complaint
'Generally, plaintiff alleges that the defendants are responsible for her unlawful conviction
and resulting incarceration 'She asks this Court to vacate her conviction and to release her from
prison immediately
A petition for writ of habeas corpus ordinarily would be the proper vehicle for
challenging the fact of petitioner’#s physical confinement See Cha_tman-Be,y v. Thor»nbi¢rgh, 864
F`.Zd 8104, 809 (D.C. Cir= 1988) (citing Pr"eiser v. Roid'riguez, 411 U.S. 475, 490 (1973)). Plaintiff
must do so by filing a motion to vacate, set aside or correct the sentence under 28 U.S.C.\ § 225'5.
Section, 2255 i'n relevant part provides t`hat:
[a] prisoner in custody under 'sentence of a court established by Act
of Congress claimingtlhe right to be released upon the ground that the

sentence was imposed_in violation of the Constitution or laws of the
United ‘States`,` or that the court was without jurisdiction to impose

 

 

 

 

 

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such sentence, or that the sentence was in excess of the maximum

authorized by law, or is otherwise subject to collateral attack, w

move the court which imposed the sentence to vacate:, set aside or

correct the sentencer
28 U.S.iC. § 2255 (ernphasis added). Challenges to the jurisdiction of the federal court imposing
sentence and attacks on the constitutionality of a federal prisoner’s conviction can both be raised
in a motion under Section 2255\. S`ee Taylor v. Uni~ted S`tate~s Bo.ard of Parole, 194 F;Zd 882, 883
(D.C. Cir. 1952); Ojo v. Immigration & Naturalization Serv.,lO`6 F.Bd 6'80,, 683 (5th Ci'r.\ 1997)
(sentencing court is the only court with jurisdiction to hear the defendant’s complaint regarding
errors that occurred before or during sentencing).

It appears that plaintiff was convicted in the United States District Court for the Northern

District of Georgia, andthis action cannot properly proceed in this district The Court will
dismiss the complaint without prejudice An Order consistent with this Memorandum Opinion is

issued separately on this same date.

United States District Judge

 

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